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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

    In re:
                                                                Chapter 11 Case No.

    Ho Wan Kwok1                                                Case No. 22-50073 (JAM)

                                     Debtor.                    September 28, 2022




    PACIFIC ALLIANCE ASIA OPPORTUNITY FUND L.P.’S EXHIBIT AND WITNESS
    LIST RE HONG KONG INTERNATIONAL FUNDS INVESTMENTS (USA) LIMITED,
       LLC’S MOTION TO ESTABLISH REPAIR RESERVE FOR THE LADY MAY

             In advance of the October 7, 2022 hearing on Hong Kong International Funds Investments

(USA) Limited, LLC’s (“HK USA”) Motion to Establish Repair Reserve for the Lady May

(“Repair Reserve Motion”) [ECF No. 728], PAX respectfully submits its Exhibit and Witness List:

                                                   EXHIBIT LIST

    EX. NO.          EXHIBIT DESCRIPTION                              DATE            BATES      DOCKET
    PAX 01        Declaration of Dexter White and                   9/23/2022          N/A       872, 872-1
                  Appendix 1
     PAX 02       Exhibit A to Repair Reserve Motion                8/11/2022          N/A         728-1
                  (Bridgeport Boatworks Valve
                  Service Estimate)
     PAX 03       Exhibit B to Repair Reserve Motion                8/11/2022          N/A         728-2
                  (Bridgeport Boatworks Haul Out
                  Estimate)
     PAX 04       Exhibit C to Repair Reserve Motion                8/11/2022          N/A         728-3
                  (Bridgeport Boatworks Summer
                  Service Estimate)
     PAX 05       Exhibit D to Repair Reserve Motion                8/11/2022          N/A         728-4
                  (Safe Harbor Newport Shipyard
                  Estimate)
     PAX 06       Exhibit E to Repair Reserve Motion                8/11/2022          N/A         728-5
                  (Safe Harbor Newport Shipyard
                  Estimate Line Items)

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    The last four digits of the Debtor’s taxpayer identification number are 9595.

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EX. NO.       EXHIBIT DESCRIPTION                  DATE          BATES        DOCKET
PAX 07    Exhibit F to Repair Reserve Motion     8/11/2022        N/A          728-6
          (Safe Harbor Newport Shipyard
          2022 Rate Sheet)
 PAX 08   Exhibit G to Repair Reserve Motion     8/11/2022         N/A          728-7
          (Thunderbolt Marine Budget
          Proposal)
 PAX 09   Exhibit H to Repair Reserve Motion     8/11/2022         N/A          728-8
          (Thunderbolt Marine 2021 Rate
          Sheet)
 PAX 10   Exhibit I to Repair Reserve Motion     8/11/2022         N/A          728-9
          (Bridgeport Boatworks Bow
          Repaint Estimate)
 PAX 11   Exhibit J to Repair Reserve Motion     8/11/2022         N/A          728-10
          (Bridgeport Boatworks Bilge Board
          Replacement Estimate)
 PAX 12   Exhibit K to Repair Reserve Motion     8/11/2022         N/A          728-11
          (Zeppelin Power Systems Quote)
 PAX 13   Exhibit L to Repair Reserve Motion     8/11/2022         N/A          728-12
          (Zeppelin Power Systems Quote)
 PAX 14   Exhibit M to Repair Reserve            8/11/2022         N/A          728-13
          Motion (Zeppelin Power Systems
          Quote)
 PAX 15   Exhibit N to Repair Reserve Motion     8/11/2022         N/A          728-14
          (Bridgeport Boatworks Bilge Board
          Replacement Estimate)
 PAX 16   Exhibit O to Repair Reserve Motion     8/11/2022         N/A          728-15
          (Bridgeport Boatworks Engine
          Service Support Estimate)
 PAX 17   Performance Power Systems              7/20/2022         N/A           N/A
          Marine Service Report
 PAX 18   Connecticut Diesel & Marine Quote      7/26/2022         N/A           N/A

 PAX 19   Thunderbolt Marine Inc. Budget         7/18/2022         N/A           N/A
          Proposal
 PAX 20   Thunderbolt Marine Inc. 2022-2023         N/A            N/A           N/A
          Rate Sheet
 PAX 21   Ring Power Estimate                     07/28/22         N/A           N/A

 PAX 22   MB92 La Ciotat Down Payment             05/13/22         N/A           N/A

 PAX 23   MB92 La Ciotat Account Statement        03/06/22         N/A           N/A




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 EX. NO.         EXHIBIT DESCRIPTION                   DATE              BATES          DOCKET
 PAX 24      Performance Power Systems Good          07/15/2022           N/A             N/A
             Faith Estimates
  PAX 25     Bridgeport Boatworks Bilge Deck             N/A               N/A              N/A
             Board Replacement Estimate
  PAX 26     Bridgeport Boatworks Engine             08/01/2022            N/A              N/A
             Service Support Estimate
  PAX 27     Dexter White Profile and Resume             N/A               N/A              N/A

  PAX 28     Diver’s Report                          09/04/2022            N/A              N/A

  PAX 29     AACE International Recommended            2/2/2005            N/A              N/A
             Practice No. 18R-97: Cost Estimate
             Classification System – As Applied
             in Engineering, Procurement, and
             Construction for the Process
             Industries


                                        WITNESS LIST

   PAX reserves the right to examine witnesses listed on other parties’ witness lists, examine any

witness called to testify at the Hearing, as well as to call and examine other witnesses listed on

other parties’ witness lists for purposes of providing rebuttal and/or impeachment testimony. PAX

may call one or more of the following witnesses at the Hearing:

   1. Dexter White

   2. Captain Lloyd Bernard

                                 [Signature on following page]




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Dated: September 28, 2022                    Pacific Alliance Asia Opportunity Fund
Hartford, Connecticut                        L.P.


                                              By: /s/ Patrick M. Birney
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                                                 -and-

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2022, a copy of the foregoing was filed electronically

through the Court’s CM/ECF System. Notice of this filing will be sent by e-mail to all parties by

operation of the court’s electronic filing system. Parties in interest may access this filing through

the Court’s CM/ECF System.



                                                              /s/ Patrick M. Birney
                                                              Patrick M. Birney
